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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE BARTER HOUSE, INC., and BRIAN DIMARCO,

                                          Plaintiffs,               17 Civ. 9276 (PAE) (BCM)
                         -v-
                                                                              ORDER
 INFINITY SPIRITS LCC, a limited liability company, DON
 GOOD TEQUILA COMPANY, LLC, a limited liability
 company, EUROPEAN INFINITY GROUP INC., a
 corporation, and BRIAN HOPKINS, an individual,

                                          Defendants.


PAUL A. ENGELMAYER, District Judge:

        Defendant Brian Hopkins, by email, has notified the Court, in response to its recent order,

Dkt. 429, that he renews his demand for a jury trial. Accordingly, the outstanding claims in this

case will be resolved a jury. The Court, utilizing the procedures within this District governing

the scheduling of jury trials during the COVID-19 pandemic, will seek to schedule a jury trial in

the first quarter of 2021 for the remaining claims, which are brought against Mr. Hopkins in his

individual capacity. The form which the Court is to submit to arrange the scheduling of such a

trial is due this week. The parties are instructed, by Wednesday, November 11, 2020, each to file

(and email to chambers) a letter identifying any dates during the first quarter in which they are

unavailable, and the specific bases for that unavailability. The Court will attempt to schedule a

trial consistent with the parties’ availability.

        Because Mr. Hopkins states that he is not yet able to access ECF, the Court, in addition to

docketing this order, is emailing it to plaintiffs’ counsel and Mr. Hopkins. To further assure Mr.

Hopkins’ receipt, plaintiffs’ counsel are directed forthwith to serve a copy of this order on Mr.
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Hopkins at all known addresses, including email addresses, and thereafter promptly to file, on

the docket of this case, an affidavit reflecting such service.



       SO ORDERED.

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                                                                 PAUL A. ENGELMAYER
                                                                 United States District Judge
Dated: November 9, 2020
       New York, New York




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